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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                              ROME DIVISION

JARROD JOHNSON, individually,          )
and on Behalf of a Class of Persons    )
Similarly Situated,                    )
                                       )
      Plaintiff,                       )
                                       )
v.                                     )     Civil Action No. 4:20-cv-00008-AT
                                       )
3M COMPANY, et al.,                    )
                                       )
      Defendants.                      )
                                       )

             DEFENDANT ORIENTAL WEAVERS USA, INC.’S
                     INITIAL DISCLOSURES


      Defendant Oriental Weavers USA, Inc. (“Defendant” or “OWUSA”),

pursuant to Rule 26(a) of the Federal Rules of Civil Procedures, by and through its

attorneys, pursuant to the Court’s minute entry [Doc. 161] and parties’ proposed

Scheduling Order [Doc. 152-2] in this matter. The following initial disclosures are

based on information reasonably available to OWUSA at the present time, and

OWUSA reserves the right to supplement its disclosures to the extent more

information about this matter becomes available. OWUSA makes its initial

disclosures without waiving any applicable privileges, including the attorney-client

privilege or the attorney work product privilege, as follows:
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      1.    If the Defendant is improperly identified, state Defendant’s correct

identification and state whether Defendant will accept service of an amended

summons and complaint reflecting the information furnished in this disclosure

response.

      RESPONSE:           Defendant Oriental Weavers USA, Inc., (“OWUSA”)

is identified properly.

      2.    Provide the names of any parties whom Defendant contends are

necessary parties to this action, but who have not been named by plaintiff. If

Defendant contends that there is a question of misjoinder of parties, provide the

reasons for Defendant's contention.

      RESPONSE:           Defendant OWUSA does not contend that any other

parties are necessary to this action or that there is a question of misjoinder of

parties at this time; however, Defendant OWUSA reserves the right to claim

that others, including but not limited to utilities, chemical manufacturers,

chemical suppliers, chemical producers, and/or chemical users, are or may be

a necessary party to this action. There are numerous potential contributors or

sources of the contaminants Plaintiff now complains of being present in the

waterways or water supply associated with this action. OWUSA reserves the

right to add any such contributors, as appropriate, to the extent such persons

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and entities are identified during discovery or otherwise during the pendency

of this matter.

      3.    Provide a detailed factual basis for the defense or defenses and any

counterclaims or crossclaims asserted by Defendant in the responsive pleading.

      RESPONSE:          Plaintiff has alleged numerous entities, including

Defendant OWUSA, should be held responsible for purported impacts to water

the City of Rome, Georgia and Floyd County, Georgia capture as surface water

for later treatment, use and sale as drinking water and/or other purposes. The

municipal facilities Plaintiff references are located many miles away from

Whitfield County, Georgia. Although the waters at issue may be impacted by a

variety of sources, and the chemicals Plaintiff references in his Complaint could

be found in a multitude of consumer and commercial products, Defendant

OWUSA has not asserted a counterclaim or crossclaim at this time.

      OWUSA discharged its wastewater to Dalton Utilities, pursuant to

permits for industrial wastewater discharge; OWUA did not control Dalton

Utilities or that utility’s waste disposal operations; the permit issued to Dalton

Utilities is a non-discharge permit from the Georgia EPD; there does not appear

to be regulatory levels or regulations applicable to the types of substances for

which Plaintiff complains; and, OWUSA’s wastewater was sent legally and

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permissibly to Dalton Utilities. To the extent the utility from which OWUSA

received supply water for its facility, or to which OWUSA may have provided

wastewater for treatment, is shown by Plaintiff to have failed to appropriately

treat, handle or apply water, then Defendant OWUSA is not liable to Plaintiff

(or others in a putative class of those similarly situated).

      Defendant OWUSA is not responsible for the Plaintiff’s purported

impacts or for the alleged relief sought, for reasons and defenses set forth in

Defendant OWUSA’s Answer and in the motions to dismiss, defenses and

answers of other defendants. Foremost, the Economic Loss Doctrine bars the

Plaintiff’s claims for relief, as set forth more fully in the Motion and

Memorandum in Support of Aladdin Manufacturing Corporation’s, Mohawk

Carpet, LLC’s and Mohawk Industries, Inc.’s Motions to Dismiss. [Doc. Nos.

123, 123-1]. Similarly, as to OWUSA, the plaintiff is owed no duty by OWUSA,

there is a lack of foreseeability on OWUSA’s part as to the Plaintiff’s alleged

injuries, and Plaintiff has failed to allege “special injury” regarding the public

nuisance claims set forth under Georgia law. [Id.] If Plaintiff has been harmed

in an actionable way, the harm was caused by parties other than OWUSA.

      Moreover, OWUSA has not created or maintained a nuisance or any

other conditions to cause a nuisance, nor has OWUSA violated duties allegedly

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owed to Plaintiff, for many of the same reasons as fully explained in Defendant

Shaw Industries Group, Inc.’s Motion to Dismiss and supporting memorandum

of law and also as stated in Defendant Dixie Group, Inc.’s Motion to Dismiss.

[Doc. Nos. 132, 132-1 and 143]. Those pleadings each contain detailed factual

bases and arguments that support the defenses asserted by OWUSA in its

Answer. In addition, Defendant OWUSA is not a joint tortfeasor and, pursuant

to O.C.G.A. §51-12-33, or otherwise, any apportionment related to the alleged

damages (if any) to which OWUSA purportedly contributed would be de

minimis relative to other entities.

      4.     Describe in detail all statutes, codes, regulations, legal principles,

standards and customs or usages, and illustrative case law which Defendant contends

are applicable to this action.

      RESPONSE:            In an effort to conserve resources of the parties and for

purposes of judicial economy, at the present stage of this litigation Defendant

OWUSA intends to rely upon the statutes and legal principles espoused in its

Answer, as well as the applicable statutes, codes, legal principles, legal

standards, case law, defenses and arguments asserted by certain other

defendants [See e.g. Doc. Nos. 123, 123-1, 132, 132-1, 143] that are the subject

of “PFC” related allegations for discharges purportedly affecting the City of

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Rome, Georgia’s and Floyd County, Georgia’s water supplies since those other

defendants’ pleadings contain detailed descriptions of the legal principles and

case law that is generally applicable to this action. As this litigation progresses,

OWUSA respectfully reserves the right to supplement further those legal

arguments - particularly in instances where there may be a more substantial or

different impact arising as to OWUSA.

      5.     Provide the name and, if known, the address and telephone number of

each individual likely to have discoverable information that you may use to support

your claims or defenses, unless solely for impeachment, identifying the subjects of

the information. (Attach witness list to Initial Disclosures as Attachment A.)

      RESPONSE:           See Attachment A.

      6.     Provide the name of any person who may be used at trial to present

evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence. For all

experts described in Fed. R. Civ. P. 26(a)(2)(B), provide a separate written report

satisfying the provisions of that rule. (Attach expert witness list and written reports

to Initial Disclosures as Attachment B.)

      RESPONSE:           See Attachment B.

      7.     Provide a copy of, or description by category and location of, all

documents, data compilations or other electronically stored information, and

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tangible things in your possession, custody, or control that you may use to support

your claims or defenses unless solely for impeachment, identifying the subjects of

the information. (Attach document list and descriptions to Initial Disclosures as

Attachment C.)

       RESPONSE:           See Attachment C.

       8.     In the space provided below, provide a computation of any category of

damages claimed by you. In addition, include a copy of, or describe by category and

location of, the documents or other evidentiary material, not privileged or protected

from disclosure on which such computation is based, including materials bearing on

the nature and extent of injuries suffered, making such documents or evidentiary

material available for inspection and copying under Fed.R.Civ.P. 34. (Attach any

copies and descriptions to Initial Disclosures as Attachment D.)

       RESPONSE:           Not applicable since Defendant OWUSA has not made

a claim for damages at this time.

       9.     If Defendant contends that some other person or legal entity is, in whole

or in part, liable to the plaintiff or defendant in this matter, state the full name,

address, and telephone number of such person or entity and describe in detail the

basis of such liability.




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      RESPONSE:           Defendant OWUSA does not contend at this time that

any person or legal entity identified in the Complaint is liable to the Plaintiff or

the purported putative class. Defendant OWUSA incorporates by reference

into this response its Response to Item 2 as stated above. Defendant OWUSA

further asserts that to the extent liability maybe found, or attach to OWUSA,

then its product, chemical or utility supplier(s) of materials containing

perfluoroalkyl substances of any kind may be responsible to OWUSA.

      10.    Attach for inspection and copying as under Fed. R. Civ. P. 34 any

insurance agreement under which any person carrying on an insurance business may

be liable to satisfy part or all of a judgment which may be entered in this action or

to indemnify or reimburse for payments to satisfy the judgment. (Attach copy of

insurance agreement to Initial Disclosures as Attachment E.)

      RESPONSE:           Defendant OWUSA is not aware of an insurance

agreement applicable to this action.

      Respectfully submitted this 15th day of June, 2020.

                                  GRANT KONVALINKA & HARRISON, P.C.

                                  By: /s/ David C. Higney
                                        David C. Higney, GA Bar No. 352780
                                        633 Chestnut Street, Suite 900
                                        Chattanooga, TN 37450-0900
                                        (423) 756-8400
                                        (423) 756-6518 facsimile
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                            dhigney@gkhpc.com
                            Attorneys for Defendant
                             Oriental Weavers USA, Inc.




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                      ATTACHMENT A
    DEFENDANT ORIENTAL WEAVERS USA’S INITIAL DISCLOSURES
                       WITNESS LIST


      Individuals who may have discoverable information1 regarding inter alia

OWUSA’s manufacturing operations, processes and chemical auxiliaries at issue in

this litigation, and/or statements and information provided by or made to its suppliers

of auxiliaries or products, include the following:

      1.     Ahmed Salama. Chief Executive Officer, OWUSA, 3295 Dug Gap

Road SW, Dalton, Georgia 30720; (706) 277-4725. Mr. Salama may have limited

general knowledge related to the claims and defenses asserted in this litigation.

      2.     Darrel McCay. Chief Financial Officer, OWUSA, 3295 Dug Gap Road

SW, Dalton, Georgia 30720; (706) 277-4725. Mr. McCay (and some individuals

reporting to him) has knowledge related to the claims and defenses asserted in this

litigation. As CFO, Mr. McCay has responsibility for the financial statements of

OWUSA.

      3.     David Flood. Masterbatch Manager, OWUSA, 3295 Dug Gap Road

SW, Dalton, Georgia 30720; (706) 277-4725. Mr. Flood has knowledge related to


1
  Please direct all communications relative to current and former OWUSA
employees or officers to OWUSA’s Counsel, c/o David C. Higney, Esq., at the
offices of Grant Konvalinka & Harrison PC; 633 Chestnut St., Suite 900, Republic
Centre, Chattanooga TN 37450; (phone) 423.756.8400; or dhigney@gkhpc.com.
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claims and defenses asserted in this litigation and technical knowledge regarding

OWUSA’s manufacturing processes for area rugs.

      4.     Kim Collette. Human Resources Director, OWUSA, 3295 Dug Gap

Road SW, Dalton, Georgia 30720; (706) 277-4725. Ms. Collette has general

information pertaining to OWUSA personnel, some of whom may have general

knowledge related to claims and defenses asserted in this litigation.

      5.     Farid Siyam. General Plant Manager and Vice-President, OWUSA,

3295 Dug Gap Road SW, Dalton, Georgia 30720; (706) 277-4725. Mr. Siyam has

general knowledge related to manufacturing and operational practices associated

with the manufacture of area rugs.

      6.     Yassar Shaban. Weaving/Finishing Plant Manager, OWUSA, 3295

Dug Gap Road SW, Dalton, Georgia 30720; (706) 277-4725. Mr. Shaban has

general knowledge related to claims or defenses asserted in this litigation, together

with information pertaining to certain weaving, finishing, or coating techniques

associated with manufactured rugs.

      7.     Amin Radwan. OWUSA employee, 3295 Dug Gap Road SW, Dalton,

Georgia 30720; (706) 277-4725. Mr. Radwan has general knowledge related to

claims and defenses asserted in this litigation, together with information pertaining




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to extruded fiber and overall manufacturing techniques for manufactured area rugs

and blanket rolls.

      8.     Robert (“Bob”) Painter and other current and former OWUSA IT and

accounting department personnel. Mr. Painter, an OWUSA Controller, and other

current and former OWUSA IT and Accounting Department personnel, may have

general knowledge of documents or reports that may be related to claims and

defenses asserted in this litigation. Mr. Painter and all such OWUSA personnel

should be contacted through OWUSA’s counsel, identified herein.

      9.     Greg Cantrell and other current and former OWUSA manufacturing

employees. Mr. Cantrell, a former OWUSA manager in the manufacturing process

for area rugs, and other current and former OWUSA manufacturing personnel, may

have general knowledge related to claims and defenses asserted in this litigation.

Mr. Cantrell’s last known contact information is 715 Shana Lane, Tunnel Hill, GA

30755, telephone unknown; however, Mr. Cantrell and all such OWUSA personnel

should be contacted through OWUSA’s counsel, identified herein.

      10.    Todd Mull. Phoenix Chemical, Inc. and, presently, Phoenix Chemical

LLC; 202 Gee Road NE, Calhoun Georgia 30701; (706) 602-8844. Mr. Mull has

knowledge of the rug auxiliaries and chemicals supplied to, sold to, and purchased




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by OWUSA from Phoenix Chemical that may relate to claims and defenses asserted

in this litigation.

       11.    Dalton Utilities. PO Box 869, Dalton, Georgia 30722. Upon

information and belief, the utility has general knowledge regarding the water supply

and wastewater treatment or discharges purportedly associated with or related to the

claims and defenses asserted in this litigation.

       12.    Plaintiff Jarrod Johnson. Upon information and belief, the plaintiff Mr.

Johnson would have general knowledge related to his claims and assertions in the

Complaint, including those regarding the water supply, rates and surcharges, and

alleged wastewater discharges purportedly associated with or related to the claims

and defenses asserted in this litigation.

       13.    Any persons listed by any other Defendant.

       14.    Any persons listed by Plaintiff.




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                    ATTACHMENT B
  DEFENDANT ORIENTAL WEAVERS USA’S INTIAL DISCLOSURES
                 EXPERT WITNESS LIST


      Defendant OWUSA currently has not identified any person(s) whom it may

call to present evidence at trial pursuant to Federal Rules of Evidence 702, 703, or

705 as a testifying expert witness.

      Defendant OWUSA will supplement its response to this disclosure, as

necessary, in accordance with applicable rules of civil procedure, local rules, and

standing orders.




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                    ATTACHMENT C
  DEFENDANT ORIENTAL WEAVERS USA’S INTIAL DISCLOSURES
                     EXHIBIT LIST

      Defendant OWUSA intends to use and/or rely upon, to the extent available or

in its possession and control, documents, materials, data, and information as

generally described in the categories below and to the extent consistent with the

applicable rules of civil procedure, local rules, and any applicable standing orders of

the Court. OWUSA reserves the right to amend or supplement this list as may be

appropriate in light of applicable discovery rules, standing orders, Plaintiff’s

witnesses or exhibits, any other Defendant’s witnesses and exhibits, and any and all

information, data or compilations identified in discovery or consistent with the

Scheduling Order(s), Discovery Plan(s), Electronically Stored Information (“ESI”)

protocols, and Protective Order(s), as amended, for this matter.

      1.     Documents including, but not limited to, any correspondence, reports,

abstracts, compilations, books, records, and emails in possession of OWUSA, and

any and all documents served, filed, referenced, or listed by Defendant OWUSA in

conjunction with discovery or any other matters herein. It is anticipated such data,

materials, and documents containing relevant information maintained by OWUSA

may include, but may not be limited to, the following categories:




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            Accounting or financial records or data to the extent available relating

      to purchases, receipts, account payables, production, general ledger codings /

      evidence for purchases of materials and supplies, and other accounting records

      or sales information;

            Operations and Manufacturing records related to manufacturing and

      operational input and output, such as manufacturing supply records for

      polypropylene or other goods, shipment/shipping records for products and

      chemicals, manufacturing equipment/usage records, manufacturing volume or

      manufacturing production data, chemical purchase/usage records or receipts;

      correspondence or communications regarding operations, manufacturing, or

      chemical supplies; process or material(s) handling documentation; and,

            Environmental permits or manufacturing records for products or

      auxiliaries such as Material Safety Data Sheets, wastewater related records,

      supply water records, Dalton Utilities records or other utility-related

      correspondence, other environmental permit records (if any),              and

      maintenance or health/safety data.

      2.    Documents including, but not limited to, any correspondence, reports,

abstracts, compilations, books, records, and emails to or from the State of Georgia,

including but not limited to the Georgia Department of Natural Resources.

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      3.     Documents including, but not limited to, any correspondence, reports,

abstracts, compilations, books, records, and emails to or from the United States of

America, including but not limited to or from the United States Environmental

Protection Agency and the Agency for Toxic Substances and Disease Registry.

      4.     Documents including, but not limited to, any correspondence, reports,

abstracts, compilations, books, records, and emails to or from Dalton Utilities.

      5.     Documents including, but not limited to, any correspondence, reports,

abstracts, compilations, books, records, and emails in possession of any Defendant,

and any and all documents served, filed, referenced, listed by or received from any

Defendant.

      6.     Documents including, but not limited to, any correspondence, reports,

abstracts, compilations, books, records, and emails, if any, received from Plaintiff

Jarrod Johnson.

      7.     Documents including, but not limited to, any correspondence, reports,

abstracts, compilations, books, records, and emails of the City or Rome (GA) or

those with whom it contracts and does business relative to its water supplies, intake,

treatment, sales, usage, and charges.

      8.     Documents including, but not limited to, any correspondence, reports,

abstracts, compilations, books, records, and emails of Floyd County (GA) or those

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with whom it contracts or does business relative to its water supplies, intake,

treatment, sales, usage, and charges.

      9.     Documents related to the carpet and rug industry or rug manufacturing,

generally.




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                       CERTIFICATE OF COMPLIANCE

       I hereby certify that the foregoing has been prepared with one of the font and
point types pursuant to Local Rule 5.1(C), specifically for this pleading by using:
Times New Roman, 14 point font.

                                         /s/ David C. Higney             .
                                         Grant Konvalinka & Harrison, P.C.




                          CERTIFICATE OF SERVICE

        I hereby certify that on June 15, 2020, a copy of the foregoing Defendant
Oriental Weavers USA, Inc.’s Initial Disclosures was filed electronically. Notice
of this filing will be sent by operation of the Court’s CM/ECF electronic filing
system to all parties indicated on the electronic filing receipt. Parties may access this
filing through the Court’s electronic filing system.


                                         /s/ David C. Higney             .
                                         Grant Konvalinka & Harrison, P.C.




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